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             EXHIBIT B
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                                       In re Pork Antitrust Litigation (Direct Purchaser Action), Case No. 0:18-cv-01776-JRT-HB
                                                   Assignment Report- Smithfield
Assigment   Exclusion
       ID     Number Assignee                                            Assignor Name
                                                                         MPFS Liquidating Trust, acting by and through Advisory Trust
       1         8-1 Amory Investments LLC                               Group, LLC
                                                                         Maines Paper & Food Service, Inc. ("MPFS") (dba MainSource;
                                                                         dba MainSource Food & Party Warehouse; dba Produce Express;
      1-1        8-2 Amory Investments LLC                               dba Maines Food & Party Warehouse)
      1-2        8-3 Amory Investments LLC                               Maines Funding Corporation ("MFC")

      1-3        8-4 Amory Investments LLC                               Maines Paper & Food Service - Chicago, Inc. ("MPFS-Chicago")
      1-4        8-5 Amory Investments LLC                               Maines Paper & Food Service - Dallas, Inc. ("MPFS-Dallas")
                                                                         Maines Paper & Food Service - Great Lakes, Inc. ("MPFS-Great
      1-5        8-6 Amory Investments LLC                               Lakes")
      1-6        8-7 Amory Investments LLC                               Maines Paper & Food Service - Maryland, Inc. ("MPFS-MD")
                                                                         Maines Paper & Food Service -Mid-Atlantic, Inc. ("MPFS-Mid-
      1-7        8-8 Amory Investments LLC                               Atlantic")

      1-8        8-9 Amory Investments LLC                               Maines Paper & Food Service - New England, Inc. ("MPFS-NE")
      1-9       8-10 Amory Investments LLC                               Maines Paper & Food Service - NY Metro, Inc. ("MPFS-NY")
     1-10       8-11 Amory Investments LLC                               Maines Paper & Food Service - Ohio Inc. ("MPFS-OH")
     1-11       8-12 Amory Investments LLC                               Maines Paper & Food Service -Tennessee, Inc. ("MPFS-TN")
                                                                         Maines Paper & Food Service -Worcester, Inc. ("MPFS-
     1-12       8-13 Amory Investments LLC                               Worcester")
     1-13       8-14 Amory Investments LLC                               Warehouse & Logistics, Inc. ("W&L")
        2       16-4 Aramark Food and Support Services Group, Inc.       Sysco Corporation
      2-1       16-5 Aramark Food and Support Services Group, Inc.       Single Source, Inc.
        3      17-35 Quality Supply Chain Co-op, Inc.                    The SYGMA Network, Inc.
      3-1      17-36 Quality Supply Chain Co-op, Inc.                    The Sysco Corporation
      3-2      17-37 Quality Supply Chain Co-op, Inc.                    Performance Food Group
                                                                         Kenneth O. Lester Company, Inc. d/b/a PFG Customized
      3-3      17-38 Quality Supply Chain Co-op, Inc.                    Distribution
      3-4      17-39 Quality Supply Chain Co-op, Inc.                    Quality Custom Distribution Services, Inc.
      3-5      17-40 Quality Supply Chain Co-op, Inc.                    Shamrock Foods Company
      3-6      17-41 Quality Supply Chain Co-op, Inc.                    Upper Lake Foods, Inc.
      3-7      17-42 Quality Supply Chain Co-op, Inc.                    ULF Janesville, LLC
      3-8      17-43 Quality Supply Chain Co-op, Inc.                    Willow Run Foods, Inc.
      3-9      17-44 Quality Supply Chain Co-op, Inc.                    Fresh Mark, Inc.
     3-10      17-45 Quality Supply Chain Co-op, Inc.                    Harvest Distribution, Inc.
     3-11      17-46 Quality Supply Chain Co-op, Inc.                    Southeastern Food Merchandisers, LP
        4       27-1 BJ's Wholesale Club, Inc.                           Burris Logistics
        5       29-1 Buffalo Wild Wings, Inc.                            McLane Foodservice, Inc. and its affiliates
        6       30-1 CKE Restaurants Holdings, Inc.                      McLane Company, Inc.
      6-1       30-2 CKE Restaurants Holdings, Inc.                      McLane Foodservice, Inc.
      6-2       30-3 CKE Restaurants Holdings, Inc.                      McLane Foodservice Distribution, Inc.
      6-3       30-4 CKE Restaurants Holdings, Inc.                      Meadowbrook Meat Company, Inc.
        7       31-1 The Fresh Market, Inc.                              Burris Logistics
        8       33-1 Jimmy John’s Buying Group SPV, LLC                  Sysco Corporation
        9       36-1 The Cheesecake Factory Incorporated                 Halperns’ Steak and Seafood Company, LLC
      9-1       36-2 The Cheesecake Factory Incorporated                 Nealy Foods
       10      38-70 Target Corporation                                  C&S Wholesale Grocers, Inc.
       11       39-2 Southeastern Grocers LLC                            C&S Wholesale Grocers, Inc.
     11-1       39-4 Winn-Dixie Stores, Inc.                             C&S Wholesale Grocers, Inc.
     11-2      39-12 Bi-Lo Holding LLC                                   C&S Wholesale Grocers, Inc.
     11-3      39-14 Bi-Lo LLC                                           C&S Wholesale Grocers, Inc.
     11-4      39-19 Bi-Lo, LLC                                          C&S Wholesale Grocers, Inc.
                                                                         The HAVI Group LP, HAVI Global Solutions LLC and their
      12        40-1 McDonald's Corporation                              affiliates
                                                                         Lopez Foods, Inc., Dorada Poultry LLC, DeOro Foods LLC and
     12-1       40-2 McDonald's Corporation                              their affiliates
     12-2       40-3 McDonald's Corporation                              OSI Group, LLC and its affiliates
     12-3       40-4 McDonald's Corporation                              Armada Supply Chain Solutions, LLC and its affiliates
     12-4       40-5 McDonald's Corporation                              ATEC Systems, Ltd. and its affiliates
     12-5       40-6 McDonald's Corporation                              IBD Foods, Inc. and its affiliates
     12-6       40-7 McDonald's Corporation                              The Martin-Brower Company, L.L.C. and its affiliates
       13       41-1 Checkers Drive-In Restaurants, Inc.                 I-Supply Company
     13-1       41-2 Checkers Drive-In Restaurants, Inc.                 Upper Lakes Foods, Inc.
     13-2       41-3 Checkers Drive-In Restaurants, Inc.                 DiCarlo Foods
     13-3       41-4 Checkers Drive-In Restaurants, Inc.                 Customized Distribution, LLC
     13-4       41-5 Checkers Drive-In Restaurants, Inc.                 Pocono Produce Co., Inc. d/b/a Pocono ProFoods
       14       42-1 Sonic Industries Services Inc.                      McLane Foodservice, Inc.
     14-1       42-2 Sonic Industries Services Inc.                      Performance Food Group, Inc.
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                                         In re Pork Antitrust Litigation (Direct Purchaser Action), Case No. 0:18-cv-01776-JRT-HB
                                                     Assignment Report- Smithfield
Assigment    Exclusion
        ID     Number Assignee                                             Assignor Name
      14-2        42-3 Sonic Industries Services Inc.                      Nicholas and Company
      14-3        42-4 Sonic Industries Services Inc.                      Merchants Foodservice
      14-4        42-5 Sonic Industries Services Inc.                      Shamrock Foods Company
      14-5        42-6 Sonic Industries Services Inc.                      Gordon Food Service, Inc.
        15        43-1 Restaurant Services, Inc.                           McLane Company, Inc. and affiliates
      15-1        43-2 Restaurant Services, Inc.                           Meadowbrook Meat Company, Inc.
      15-2        43-3 Restaurant Services, Inc.                           Nicholas and Company
      15-3        43-4 Restaurant Services, Inc.                           Performance Food Group, Inc.
      15-4        43-5 Restaurant Services, Inc.                           Reinhart Foodservice, LLC and affiliates
      15-5        43-6 Restaurant Services, Inc.                           Lineage Foodservice Solutions, LLC and affiliates
      15-6        43-7 Restaurant Services, Inc.                           Shamrock Foods Company
      15-7        43-8 Restaurant Services, Inc.                           Maines Paper and Food Service, Inc. and affiliates
      15-8        43-9 Restaurant Services, Inc.                           Sysco Corporation
      15-9       43-10 Restaurant Services, Inc.                           SYGMA Network, Inc.
        16        44-1 Subway Protein Litigation Corp.                     Independent Purchasing Cooperative, Inc.
      16-1        44-2 Subway Protein Litigation Corp.                     Cash-Wa Distributing
      16-2        44-3 Subway Protein Litigation Corp.                     Gordon Food Service, Inc.
      16-3        44-4 Subway Protein Litigation Corp.                     Lineage Logistics
      16-4        44-5 Subway Protein Litigation Corp.                     Nicholas & Company
      16-5        44-6 Subway Protein Litigation Corp.                     Performance Food Group, Inc.
      16-6        44-7 Subway Protein Litigation Corp.                     Saladino's Inc.
      16-7        44-8 Subway Protein Litigation Corp.                     Shamrock Foods Company
      16-8        44-9 Subway Protein Litigation Corp.                     Labatt Food Service LLC
      16-9       44-10 Subway Protein Litigation Corp.                     Ed Miniat LLC
     16-10       44-11 Subway Protein Litigation Corp.                     West Liberty Foods, LLC
        17        45-1 Golden Corral Corporation                           McLane Foodservice, Inc.
                       Barbeque Integrated, Inc. d/b/a Smokey Bones Bar
       18         46-1 And Fire Grill                                      McLane Foodservice, Inc.
                       Barbeque Integrated, Inc. d/b/a Smokey Bones Bar
      18-1        46-2 And Fire Grill                                      Performance Food Group, Inc.
                       Barbeque Integrated, Inc. d/b/a Smokey Bones Bar
      18-2        46-3 And Fire Grill                                      Reinhart Foodservice, LLC
        19        48-1 Cracker Barrel Old Country Store, Inc.              Performance Food Group, Inc.
      19-1        48-2 Cracker Barrel Old Country Store, Inc.              Reinhart Foodservice, LLC
        20        49-1 Boston Market Corporation                           McLane Foodservice, Inc.
        21        50-2 Bojangles Restaurants and Bojangles Opco LLC        McLane Foodservice, Inc.
        22        52-1 Services Group of America, Inc.                     Food Services of America, Inc.
      22-1        52-2 Services Group of America, Inc.                     Systems Services of America, Inc.
      22-2        52-3 Services Group of America, Inc.                     Ameristar Meats, Inc.
        23        74-2 Dollar General Corporation                          Nash-Finch Company
      23-1        74-3 Dollar General Corporation                          Super Food Services, Inc.
      23-2        74-4 Dollar General Corporation                          MDV SpartanNash LLC
        24        91-3 Hy-Vee                                              Topco Associates LLC or Topco Associates, Inc.
        25        93-3 US Foods, Inc.                                      Food Services, of America, Inc.,
      25-1        93-4 US Foods, Inc.                                      System Services of America, Inc.,
      25-2        93-5 US Foods, Inc.                                      Ameristar Meats, Inc.,
      25-3        93-6 US Foods, Inc.                                      Amerifresh, Inc.
      25-4        93-7 US Foods, Inc.                                      GAMPAC Express, Inc.
